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JEM/MWS: USAO# 2017R00588 DISTRICT oe Gh Bote

FOR THE DISTRICT OF SPAR WHANO

CLERK'S OFFICE
AT BALTIMORE

* '

UNITED STATES OF AMERICA
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v.
* Fire, 18 U.S.C, § 844(i); Possession of an
JAMIE CLEMONS, * Unregistered Firearm/Destructive
* — Device, 26 U.S.C. § 5841, 5861(d), and
Defendant * 5871; Aiding and Abetting, 18 U.S.C. §
* 2
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SUPERSEDING INDICTMENT

COUNT ONE
(Malicious Destruction of Real Property by Fire)

The Grand Jury for the District of Maryland charges that:
On or about July 28, 2017, in the District of Maryland, the defendant,

JAMIE CLEMONS,

(Malicious Destruction of Property by

maliciously damaged and destroyed, and attempted to damage and destroy, by means of fire, any

building and other real and personal property used in interstate commerce and in activities

affecting interstate commerce, that is, the bar known as Coconut Charlies, 9129 Fort Smallwood

Road, Pasadena, Maryland 21122, and that public safety officer, Firefighter K.G., suffered

personal injury while performing duties as a direct and proximate result of the fire:

18 U.S.C. § 844(i)
18US.C.§2-
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COUNT TWO
(Possession of an Unregistered Firearm/Destructive Device)

The Grand Jury for the District of Maryland further charges that:
On or about July 28, 2017, in the District of Maryland, the defendant,
JAMIE CLEMONS,
knowingly received and possessed a firearm, that is a destructive device, as defined in Title 26,
United States Code, Section 5845(f), not registered to him in the National Firearms Registration
and Transfer Record.

26 U.S.C. §§ 5841, 5861(d), and 5871

18 U.S.C. § 2
E.
ROBERT K. HUR
UNITED STATES ATTORNEY
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